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                                        UNITED STATES DISTRICT COURT
                                         MIDDLE DISTRICT OF FLORIDA
                                               TAMPA DIVISION



            DALANEA TAYLOR; TAMMY
            HEILMAN; DARLENE DEEGAN;
            and ROBERT A. JONES III,
                  Plaintiffs,


             v.


             CHRIS NOCCO, in his official
            capacity as Pasco County Sheriff,
                   Defendant.


             Case No. 8:21-cv-00555-SDM-CPT




                                   AFFIDAVIT OF DR. RICHARD M. HOUGH, SR.



                  STATE OF TENNESSEE
                  COUNTY OF WASHINGTON


                  PERSONALLY APPEARED before me via Zoom, the undersigned authority, DR.

                  RICHARD M. HOUGH, SR. who, after being duly sworn upon his oath, states and

                  affirms as follows:



             1. My name is Dr. Richard M. Hough, Sr. My current CV and fee policy are attached

                  as Exhibits “A” and “B.” I was retained by the law firm of DeBevoise & Poulton,

                  P.A., to review Pasco County Sheriff’s Office (“ECSO”) policies, procedures,



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                  practices and training in place regarding the Intelligence-Led Policing programs of

                  the agency.

             2. The opinions in this affidavit are, in part, from my initial report in this matter and, in

                  part, in response to Plaintiff’s expert report by Professor David Kennedy.

             3. During the past four years, I have been retained or consulted on cases and testified at

                  depositions, hearings, and trials at the state and federal court levels for both Plaintiff

                  and Defendant clients. The cases in which I have testified are noted on my CV.

             4. I have reviewed the documents referenced on Exhibit “A” attached hereto.

             5. The analysis is based upon those documents and the current practices and

                  professional standards of law enforcement. The review of said materials, my

                  assessment, and my report are based upon my knowledge of law enforcement and

                  investigative practices combined with my education, training, experience, and my

                  ongoing research and teaching of law enforcement issues, policies, and practices to

                  practitioners, academy recruits, and university students over several decades.

       I. Background and Qualifications


            6.        I began my career as a law enforcement officer in 1979 in the State of Florida. I

                      have been continuously training law enforcement and corrections officers in

                      various topics since 1980. I have specifically taught law enforcement procedures

                      and practices in the Florida Basic Recruit Training Programs (academy) for more

                      than thirty-five years. I have specifically taught patrol and investigative practices

                      for more than thirty-five years to law enforcement academy recruits, in-service

                      law enforcement officers, and college students. I have specifically conducted

                      training as a criminal investigations instructor for two Florida Sheriff’s Offices. I



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                      have conducted training as a criminal investigations instructor in two regional and

                      one agency law enforcement academies over a thirty-five-year period. I have

                      taught police procedure courses at the college and university level since 1989.


            7.        I have been teaching de-escalation and communications techniques for nearly my

                      entire career. I am trained as an instructor in the Integrating Communications,

                      Assessment, and Tactics (ICAT) program of the Police Executive Research

                      Forum (PERF), and I am a former Verbal Judo instructor. I created and teach the

                      university course The Use of Force in Criminal Justice, and I authored the

                      textbook of the same name, published by Routledge. I created and teach the

                      university course Police Use of Force and Intersectionality. I have published

                      peer-reviewed journal articles on topics including policies addressing, and the

                      dynamics of, criminal investigations. I have constructed and collaborated on

                      policies for patrol and criminal investigations by criminal justice personnel, and I

                      have reviewed hundreds of such policies. I have been retained as an expert in

                      cases involving the training of law enforcement in criminal investigation events,

                      and the agency policies and procedures addressing such matters.


            8.        I have published peer-reviewed journal articles on topics including policies

                      addressing, and the functions of, law enforcement investigations. I have been

                      retained as an expert in cases involving the training of law enforcement officers,

                      and specifically in patrol practices and criminal investigations, and the agency

                      policies and procedures addressing such matters.




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            9.        I have specifically taught and trained academy recruits in law enforcement and

                      corrections, in-service officers, and university students on the dynamics of gang

                      culture to include the element of violence, as well as gang structure including

                      traditional, non-traditional, and hybrid gangs. I created and taught the university

                      courses Homicide, Gangology and Violence. In addition, the courses I teach on

                      Policing, Corrections, Juvenile Justice, Criminal Investigations, and others,

                      incorporate aspects of the individuals drawn to gang membership and association,

                      and the prevention, intervention, and suppression efforts of society vis-à-vis

                      gangs. In regard to policy and management issues in criminal justice, I teach

                      courses that include Criminal Justice Policy, and Criminal Justice Management.


            10.       I specifically have taught the training blocks on Community-Oriented Policing,

                      Problem-Oriented Policing, and Intelligence-Led Policing in the Florida Law

                      Enforcement Basic Recruit Training Academy. I am a member of the

                      International Association of Chiefs of Police (IACP), the Police Executive

                      Research Forum (PERF), the Justice Research and Statistics Association (JRSA),

                      and the International Law Enforcement Education and Training Association

                      (ILEETA). In additional to law enforcement and corrections academy training,

                      my university courses for more than thirty years have incorporated the dynamics

                      of interactions during interviews and investigations. In my expert witness work I

                      have been retained in cases involving patrol and investigative practices.


            11.       I have specifically conducted internal/professional standards investigations, I have

                      supervised employees in the conduct of such investigations, and I have reviewed

                      such investigations as a command-level officer. I am certified as an internal


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                      affairs investigator, and I am a member of the National Internal Affairs

                      Investigators Association. In my various supervisory and command roles during

                      my career I have specifically administered and approved counseling, training, and

                      discipline up to and including termination for employees.


            12.       In case analysis, as a consultant, I utilize recommended national standards, model

                      policies, handbooks, and guides put forth by various professional organizations

                      such as the International Association of Chiefs of Police (IACP), the Police

                      Executive Research Forum (PERF), the National Sheriffs Association (NSA),

                      National Tactical Officers Association (NTOA), the Commission on the

                      Accreditation of Law Enforcement Agencies (CALEA), American Jail

                      Association (AJA), and others. I am a member of a number of these organizations,

                      and I have served as a member of the Education and Training Committee of the

                      IACP, staff of the International Law Enforcement and Education Training

                      Association (ILEETA), and as research advisor to Calibre Press, the national

                      training group that also published the text Street Survival II.


            13.       As an academician and forensic criminologist with more than thirty years of

                      teaching police policies, procedures, and practices, my analyses are further

                      informed by the national and international bodies of literature from peer-reviewed

                      academic journals, as well as government sources such as the Bureau of Justice

                      Statistics, National Institute of Justice, National Criminal Justice Reference

                      Service, the Government Accountability Office, the Congressional Research

                      Service Reports, and others. My own authorship of peer-reviewed academic

                      journal articles, and textbooks, on criminal justice topics are components of my


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                      subject matter expertise. I am one of two American academics named as

                      International Ambassador of the British Society of Criminology (BSC). In the Fall

                      of 2019, I lectured throughout the U.K. on American police major case

                      investigative methods and the use of force by police.


            14.       My experience as a former officer, investigator, supervisor, command-level

                      administrator, director of law enforcement and corrections academies, director of

                      law enforcement, chief of training, together with my experience training officers

                      over the past forty years, combine to provide substantive experience to support

                      my qualifications to conduct such reviews and analyses. Each of these

                      qualifications, and all these together, provide me with a broad knowledge of

                      generally accepted practices and procedures, which I apply to analyze whether the

                      facts in a case fall above or below those standards, articulate such standards, and

                      explain to a jury or court how they apply to the facts in a specific case.


            15.       My methodology in reviews is to list all case materials, an assumed set of facts-

                      not fact finding nor credibility judgement- and to provide opinions comparing

                      specific case facts to accepted practices, never legal conclusions nor personal

                      opinions. As a professor teaching criminal justice and public policy, I am aware

                      of the importance of social science research to the outcome of many such public

                      and criminal justice policies. The empirical research methods- quantitative,

                      qualitative, or mixed- provide useful information that can be explained to jurors.

                      This research is open inquiry, rigorously tested (peer-review), and reported

                      publicly for further scrutiny. I have served (and continue to) as editorial (peer)

                      reviewer for numerous academic journals, and I sit on the editorial board of the


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                      journal Homicide Studies. I was guest editor of a special edition of this journal

                      focused on the investigation of homicide. Review of science, like the testimony of

                      an expert, must be the product of reliable principles and methods.


            16.       To the extent that police work as a vocation has been examined by social science

                      researchers and criminologists routinely since only the 1970s, the research and

                      observations are scholarly, and employ all the rigor of peer-review. The past fifty

                      years has demonstrated the general acceptance within the social science

                      community of the methods and theories developed. The body of scientific

                      knowledge that I draw upon and focus through my qualifications to apply and

                      explain, is well established.


            17.       Some facts in this case may be disputed and I attempt to identify these while

                      incorporating them and undisputed facts in my own case analysis. I have

                      conducted case analysis and been proffered as an expert witness in criminal

                      justice practices in state and federal court since 1991. My qualifications to

                      conduct case analysis, draw conclusions and render expert opinions such as the

                      ones in this report are based on my personal and professional knowledge,

                      education, specialized training, and ongoing research and teaching in these areas.


   II.      The Issue


            18.       The following initial information is utilized for purposes of analysis in this matter:


                      The Pasco County, Florida Sheriff’s Office serves as a geographical jurisdiction
                      of 868 square miles on the coast of West Central Florida. The population is more
                      than 560,000, and since the year 2000 has grown by more than 200,000 residents.
                      The county is both rural and suburban. The largest incorporated municipality



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                       within Pasco County is New Port Richey with a population of approximately
                       17,000. Pasco County is bordered by Hernando, Sumter, Polk, Pinellas, and
                       Hillsborough Counties, and is considered a bedroom community to Tampa.
                       Vehicle travel in and through Pasco County occurs on local roads and state
                       highways, and notably by I-75, the Suncoast Parkway, US 19, US 301, US 41,
                       and US 98.1

                       Since taking office in 2011, Sheriff Nocco has implemented several innovations at
                       the Pasco Sheriff’s Office. The Pasco Sheriff’s Office was the first agency in the
                       Tampa Bay Area to adopt body worn cameras. The Pasco Sheriff’s Office also
                       has one of the largest Behavioral Health Intervention Teams in the state of
                       Florida, this team works directly with those who are homeless, suffer from mental
                       health concerns and substance abuse to connect them to resources available in the
                       community. Nocco also led the way to develop FIRST (Florida’s Forensic
                       Institute for Research, Security and Tactics), a one of a kind training center to
                       create synergy between academia, public safety and the private sector. FIRST is
                       also engaged in creating jobs for the region and opportunities for students to
                       further pursue their interest in the different fields of science and animal care.
                       Nocco also championed hiring practices that lead to the Pasco Sheriff’s Office
                       hiring numerous veterans and has also been recognized by a local media outlet as
                       the most diverse law enforcement agency in the Tampa Bay Area.2

                       In addition, the agency:

                       In September 2019, the Pasco Sheriff's Office fully implemented a Behavioral
                       Health Intervention Team (BHIT), which works collaboratively with BayCare
                       Behavioral Health, a not-for-profit health care system in the Tampa Bay Area, to
                       coordinate services for vulnerable and under-served individuals with mental
                       health and substance use concerns. Under prior federal grant programs, PSO and
                       BayCare conducted site visits to other law enforcement agencies to observe and
                       evaluate several different best practice models of coordinating law enforcement
                       and mental health activities. BHIT brings together community-based resources to
                       help individuals who are high utilizers of emergency services because of a
                       diagnosable mental illness, substance user, homelessness, or special
                       circumstances.

                       Mission

                       The mission of the Behavioral Health Intervention Team is to connect those in the
                       community who are at risk due to mental health and/or substance use with

   1
       U.S. Census and other sources
   2
       Pasco Sheriff’s Office official website


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                      services, and make their lives better. This is accomplished through collaboration
                      between law enforcement officers trained in crisis management and Behavioral
                      Health Community Providers.

                      Vision

                      The Behavioral Health Intervention Team seeks to be a premier law enforcement
                      and behavioral health collaboration, connecting individuals at risk with
                      community based resources for improved stability and quality of life.3

                      The PSO has a dedicated intimate partner and domestic violence unit, InVEST,
                      community safety program including the Juvenile Choice Program, and a range of
                      other citizen resources.

                      In 2011, the Pasco Sheriff’s Office launched an Intelligence-Led Policing section
                      to:

                       “… advance the agency’s crime fighting initiatives to a modern-day philosophy.
                      The Intelligence-led Policing Section (ILP) informs critical decisions across all
                      components of the Pasco Sheriff’s Office through the cultivation and
                      dissemination of strategic, operational, and tactical intelligence. Analysts provide
                      actionable intelligence aimed at crime and harm reduction, disruption, and
                      prevention. The Intelligence-led Policing Section consists of 30 members,
                      including a director, manager, and two analysts’ supervisors, and 20 analyst in
                      varying levels and roles.”



            19.       A lawsuit was filed by Plaintiffs alleging that the Intelligence-Led Policing

                      program violated the First, Fourth, and Fourteenth Amendments through it

                      policies and practices.


            20.       “Focused deterrence strategies honor core deterrence ideas… while finding new

                      and creative ways of deploying traditional and non-traditional law enforcement

                      tools.”4 This quote that opens the 2012 report by the Community Oriented


   3
    Pasco Sheriff’s Office official website.
   4
    Braga, Anthony A., and David L. Weisburg. 2012. Pulling Levers Focused Deterrence Strategies to Prevent Crime.
   No. 6 of Crime Prevention Research Review. Washington, D.C.: U.S. Department of Justice, Office of Community
   Oriented Policing Services.


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                      Policing Services office of the U.S. Department of Justice, frames the continued

                      idea of “deterrence” and recognizes the varied response captured in the phrase

                      “…traditional and non-traditional law enforcement tools.”5


            21.       Identifying or responding to hazards to community members are perhaps the most

                      important functions of a community’s officers. Responding to calls for service

                      and crimes is expected of a community’s law enforcement agency and officers.

                      But in the last 50-60 years academic researchers and entrepreneurial law

                      enforcement agency administrators have experimented with techniques and

                      programs that go beyond the response to 9-1-1 calls.

            22.       The decisions made by the individuals who perpetrate crime have been theorized

                      to arise from many factors and dynamics in the life, environment, neurobiology,

                      and social network of the individual. The array of potentially correlated

                      contributors to deviant, delinquent, or criminal behavior is considered within the

                      context of the individual understanding right from wrong and making a rational

                      choice to commit an act. Communicating to potential offenders sanctions they

                      might face if they continue illegal behaviors allows a “knowing” choice by the

                      person of whether to commit crime. The sanction’s arrival, however, must be

                      certain, swift, and proportional to the offense. This forms the basis in Western

                      criminology and law, of deterrence theory. Research has questioned the impact of

                      sanction severity on crime decision-making,6 but finds supports on the component




   5
    Ibid. p. 3
   6
    Laub, J. H., & Sampson, R. J. (2003). Shared beginnings, divergent lives: Delinquent boys to age 70. Cambridge,
   MA: Harvard University Press.


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                      of certainty.7 Most property crime, such as burglary, in the United States each

                      year is unreported.8

            23.       Specifically, the property crime of burglary has been shown to be influenced by a

                      burglar’s perceived risk versus reward,9 major thefts, and auto thefts.10

                      Addressing a review of the literature, Loughran, Paternoster, and Weiss stated:

                      The police may also deter crime through the use of specific strategies. There is a
                      large body of research on the effectiveness of various police strategies in regards
                      to crime prevention. This research has primarily been conducted using either (1)
                      quasi-experimental designs which compare crime rates before and after an
                      intervention or (2) randomized experiments. This body of research suggests
                      policing strategies that are focused on particular geographic areas or offenders
                      are effective in deterring crime, [emphasis added] while strategies that lack a
                      clear crime-control focus have little impact on crime rates.11



            24.       Agency policies and procedures coupled with officer training and experience

                      provide the framework for officer responses. While this allows for effective

                      actions in most instances, the conscious decisions and actions of the subjects who

                      officers encounter significantly affect how individual interactions are resolved.

                      With the complications that come with physical interaction, it can be easy for

                      many people to believe a certain outcome was more predictable and thus that the

                      responses of officers to individuals may be viewed as incorrect rather than

                      objectively reasonable. Interacting with a subject with the hope of gaining


   7
     Jacobs, B. & Piquero, A. R. (2013). Boundary-Crossing in Perceptual Deterrence: Investigating the Linkages
   Between Sanction Severity, Sanction Certainty, and Offending. International Journal of Offender Therapy and
   Comparative Criminology, 57(7), 792–812.
   8
     National Crime Victimization Survey
   9
     Piquero, A., & Rengert, G. F. (1999). Studying Deterrence with Active Residential Burglars. Justice
   Quarterly, 16(2), 451-471.
   10
      Lochner, Lance. 2007. Individual perceptions of the criminal justice system. American Economic Review 97:444–
   60.
   11
      Thomas A. Loughran, Ray Paternoster, and Douglas B. Weiss, in The Handbook of Criminological Theory, edited
   by Melissa L. Rorie, John Wiley & Sons, Incorporated, 2015.


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                      compliance can be blocked by the behavior of the subject, as in the instant case.

                      Each of the documents and individual investigative efforts in the case represent

                      the information-gathering expected and routinely seen during cases with any

                      potential or actual repeat (prolific) offender, such as the instant one.12 The case

                      management process was typical and expected.13 The expected and standard

                      documentation of actions and information in such events serve a number of

                      purposes of citizen accountability and legitimacy, agency review of policies and

                      procedures – and officers, media scrutiny, court review, and others.14



   III.     Community-Oriented Policing and Problem-Oriented Policing



            25.       Law enforcement officers in Florida are trained in the basic law enforcement

                      academy regarding the factors routinely considered components of community-

                      and problem-oriented policing, as well as Intelligence-Led Policing (ILP).15 The

                      selection and implementation of a particular crime prevention strategy has long

                      been recognized by the courts as within the purview of an agency and its elected

                      or appointed administrators.

            26.       Plaintiff’s expert, Professor Kennedy, selects a few words from the ILP Manual

                      regarding School Resource Officers that attempt to evoke a question about the job




   12
      Ibid., begins with Table of Contents
   13
      International Association of Chiefs of Police, Training Key 558 Criminal investigations
   14
      Yu, & Monas, N. (2020). Recreating the Scene: An Investigation of Police Report Writing. Journal of Technical
   Writing and Communication, 50(1), 35–55.
   15
      Florida Basic Recruit Training Program, Fundamentals of Patrol, Unit 2 Crime Reduction and Prevention


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                      functions of a law enforcement officer.16 A balanced reading of the ILP Manual

                      section provides [emphasis added]:

                      School Resource Officers (SRO) SROs interact with middle school and high
                      school students from within their school’s geographic boundaries on a daily basis
                      and are in a unique position to augment the agency’s ILP efforts in several ways.

                      SROs can offer valuable assistance in areas such as offender identification and
                      intelligence gathering. Often SROs will hear about past, present or future crimes
                      well before others in the law enforcement community. In addition to scanning for
                      information that may assist with active investigations, it is critical that SROs also
                      look to identify students who are at-risk of developing into prolific offenders and
                      engaging those students in an effort to get them back on the right track.

                      SROs are uniquely positioned to overcome a significant barrier that exists
                      concerning police-community partnerships in modern society, especially with
                      younger people. An SRO’s outreach efforts provide for opportunities to build
                      relationships based on mutual trust, and honest, open communication. These
                      connections, properly cultivated, can help us develop a clearer picture of the
                      environment, and where the seeds of criminal activity are. This can aid deputies
                      and commanders to more effectively interpret, influence, and impact the criminal
                      environment. Healthy police-community relationships are vital for active crime
                      prevention, officer safety, and solving crimes.17


            27.       There is no copyright on government efforts to address crime. There is also no

                      evidence-based program shown to prevent or eradicate all crime – or any of the

                      very many different crimes. It is very much the lot for the approximately 18,000

                      separate local-level law enforcement agencies in the United States to pursue

                      multiple strategies to address myriad crime/person/location/dynamics scenarios.

                      For hot spots interventions, Braga et al. noted that 20 of 25 they examined

                      “…reported noteworthy crime and disorder reductions.”18 Focused deterrence is

                      one in a very long line of approaches to address crime, notably by those involved


   16
      Ibid. page 183
   17
      ILP Manual pages 65-66
   18
      Braga, A., Papachristos, A., & Hureau, D. Hot spots policing effects on crime. Campbell Systematic Reviews
   2012:8


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                      in a group (Kennedy, 1997), but also, even if related to violent crime, “There have

                      also been examples of focused deterrence strategies applied to individual repeat

                      offenders.”19

            28.       Intelligence-led policing is described by the International Association of Chiefs of

                      Police this way:

                      Intelligence led policing combines the collection and analysis of information to
                      produce intelligence guided operations at both the tactical and strategic levels to
                      prevent and detect crime rather than simply to react to it. It is driven by
                      information provided by line officers who are in a unique position to gather basic
                      criminal information.20


            29.       There is not an absolute method of identifying potential offenders. Innovative

                      policing approaches, such as the PSO Intelligence-Led Policing approach, takes

                      “…the statistical analysis of large amounts of historical data and serve to

                      anticipate new crime events or phenomena.”21

            30.       Repeat offender statutes do not punish for future potential behavior. Rather, the

                      development of enhanced penalties by legislatures also relies on the concept of

                      specific deterrence to communicate sanctions to potential offenders if they

                      continue to violate laws and rules. Plaintiff expert Professor David Kennedy in his

                      report states that deputies discovering probation violations- which is a portion of

                      their normal duties – were “violations that would otherwise have gone unobserved

                      and unpunished…”22 I read this as being critical of deputies noting violations of




   19
      Braga, A., Weisburd, D.L. (2012). The effects of focused deterrence strategies on crime: A systematic review and
   meta-analysis of the empirical evidence. Journal of Research in Crime and Delinquency, 49(3, Page 327
   20
      IACP Training Key #601 (2006)
   21
      Hardyns, & Rummens, A. (2017). Predictive Policing as a New Tool for Law Enforcement? Recent
   Developments and Challenges. European Journal on Criminal Policy and Research, 24(3), 201–218.
   22
      Expert report of David Kennedy, page 29


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                      court-imposed probation requirements. Deterrence as enforcement of laws and

                      punishment is once again foundational to criminal justice systems the world over.

                      That the Intelligence-Led Policing program boosts the “certainty” component of

                      deterrence is aligned with the roles of criminal justice system actors.23

            31.       Professor Kennedy asserts in his report that “Deputies note how many evictions

                      they have achieved as part of their performance evaluations.”24 And that “One

                      deputy cited as an accomplishment the eviction of a “prolific offender’s” mother.”

                      [emphasis Kennedy’s]25 While the former document citation is incorrect, I did

                      review the “Self-Evaluation Questionnaire” at both locations. These agency

                      forms, completed prior to a supervisor evaluation, are where deputies list, among

                      others, tasks accomplished within their assigned job duties. In a commentary on

                      deputies speaking to a girlfriend of an identified prolific offender deputies were

                      seeking to talk to, Kennedy in addressing one deputy’s comment about the young

                      woman lying to cover the offender’s whereabouts, says “It would appear, in fact,

                      that the deputies were lying.”26 [emphasis Kennedy’s] He then cites FS

                      837.05(1)(a). Likely, if a charge were to be followed through on, it would be

                      under FS 843.02, Resisting officer without violence to his or her person not False

                      reports to law enforcement authorities.

            32.       Piquero noted that:

                      In these relationships, researchers – typically criminologists with a university
                      affiliation – develop a close relationship with a criminal justice agency, provide
                      process and outcome evaluation, and advise the agency on the progress and

   23
      Loughran, T.A., Pogarsky, G., Piquero, A.R., & Paternoster, R. (2012). Reassessing the functional form of the
   certainty effect in deterrence theory. Justice Quarterly, 29 , 712– 741.
   24
      Expert report of David Kennedy, page 30
   25
      Ibid.
   26
      Expert report of David Kennedy


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                      impact of a program, policy, or practice. In return, the agency or agencies
                      involved provides access to their data. Such relationships provide ample
                      opportunity for criminologists to sway the course of public policy, guide
                      interventions toward more scientifically sound foundations, and test
                      criminological theory. An excellent example of this can be found in the work that
                      has been done in focused deterrence. Such work stems from attention to hotspots
                      that dates (at least) to the 1980s but was more formally developed by Anthony
                      Braga and colleagues. Under Braga’s leadership, the Boston Police department
                      identified both high-crime areas (hotspots) and highrate offenders [emphasis
                      added] within those areas and targeted both (areas and persons) [emphasis
                      added] with increased police attention and the threat (i.e., focused deterrence)
                      [emphasis added] of increased police attention if levels of violence continue at
                      high levels. Braga and colleagues worked as partners with the Boston Police
                      department, Suffolk County Probation, a clergy group, and others to develop a
                      deterrence message and deliver it in a way that was consistent with principles of
                      deterrence such as certainty, severity, and celerity.27

            33.       Though not mentioned in the above summary, Plaintiff’s expert in this matter,

                      Professor Kennedy, asserts a central role in the project.28

            34.       Examination of, among other aspects of deterrence, whether criminal involvement

                      is ongoing based on delinquent or criminal record, potentially, indicates someone

                      who has chosen to commit acts that are proscribed by society. Working to

                      effectively prevent some crime is expected of police agencies, high-capacity

                      offenders are understood to be disproportionately responsible for property crimes

                      such as burglary and auto theft. While target-hardening against crime by

                      individual citizens may be effective, it is not widely found in most communities.

                      Notable in the last forty years are police-implemented approaches including

                      community-oriented policing (COP), problem-oriented policing (POP), hot-spot

                      policing, and intelligence-led policing.29 Various data-driven policing strategies


   27
      Piquero, Alex R.. The Handbook of Criminological Theory, edited by Melissa L. Rorie, John Wiley & Sons,
   Incorporated, 2015.
   28
      See, among many, Don't Shoot: One Man, a Street Fellowship, and the End of Violence in Inner-City America
   by David M. Kennedy, 2011
   29
      Lum, Kristian, and William Isaac. 2016. To predict and serve? Significance 13: 14–19.


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                      are other efforts to leverage information (think big data here) using algorithms to

                      focus the limited resources of law enforcement on places and people that analysis

                      marks as having higher likelihood of crime involvement. According to a RAND

                      Corporation study, the main objectives of the approach are: (1) predicting

                      perpetrators, (2) predicting victims, and (3) predicting when and where there is a

                      higher risk of new crime events.30 In the early-ish years of such policing, scholars,

                      citizens, and practitioners look to the lessons of other disciplines using data-based

                      prediction to guide the inevitable debate around ethics and transparency.



   IV.      Gang Violence and Homicide: What PSO’s ILP is not about

            35.       Plaintiff expert Professor David Kennedy has spent literally decades studying and

                      participating in efforts to reduce group-located homicide. Membership in a gang

                      is recognized as a homicide risk factor for the gang member or affiliate.31

                      Research into the culture and behavior of gangs supports a gang-violence

                      connection, to include homicide.32 The socialization of the gang as a primary

                      group provides for certain needs of the young individual, including identity,

                      companionship, and even “manhood” as part of the psyche of a member.33 The

                      use of violence, including and sometimes especially against police, can be




   30
      Perry, W. L., McInnis, B., Price, C. C., Smith, S. C., & Hollywood, J. S. (2013). Predictive policing: The role of
   crime forecasting in law enforcement operations. RAND Research Report: RAND Corporation
   31
      DeLisi, Spruill, Vaughn, & Trulson, 2014)
   32
      Decker, S. H. and D. C. Pyrooz. 2010. “On the Validity and Reliability of Gang Homicide: A Comparison of
   Disparate Sources.” Homicide Studies 14 (4):359–76.
   33
      Miller, Jody, and Scott Decker. 2001. Young women and gang violence: Gender, street offender, and violent
   victimization in gangs. Justice Quarterly 18:115-40.; Stretesky, & Pogrebin, M. R. (2007). Gang-Related Gun
   Violence: Socialization, Identity, and Self. Journal of Contemporary Ethnography, 36(1), 85–114.


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                      reactions to a threat to status in the gang.34 Notably, the use of a focused

                      deterrence strategy involving gangs (sometimes called groups or networks) has

                      been correlated with a disruption in shootings in some places during some years.35

                      It is not settled social science that one approach or one formulation of focused

                      deterrence caused the homicide reductions where the various permutations were

                      employed for various time lengths.

            36.       Risk-taking in youth is axiomatic. That the prefrontal cortex of the male brain

                      does not reach development until the mid-twenties, is a factor in attributing risky,

                      aggressive behavior with insufficient consideration of consequences.36 There is

                      the additional psychological aspect of the sense of invulnerability, the

                      combination of which “…sets the adolescent up for an unusual proclivity for

                      behavior.”37

            37.       The appearance of cooperation or even isolated moments of cooperation does not

                      reflect the moment-to-moment thoughts of the individual who eventually resists

                      any given effort of law enforcement or other governmental agencies.

            38.       In their pre-service and in-service training in the dynamics of citizen interaction

                      and response, deputies are trained in the Florida Basic Recruit Training.



   V.       Environment




   34
      Howell, James. 1998. Youth gangs: An overview. Juvenile Justice Bulletin August 1998. Washington DC: U.S.
   Department of Justice, Office of Juvenile Justice and Delinquency Prevention.
   35
      & Management, 32(4), 739–757.
   36
      See for example, Raine, A. (2013). The Anatomy of Violence: The Biological Roots of Crime. Random House:
   New York.
   37
      Ibid. page 131


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            39.       The FBI and Bureau of Justice Statistics (BJS) maintain constant efforts to gather

                      accurate and relevant data on crime. In 2019, BJS surveys revealed that only

                      about 32.5% of household property crimes were reported. Crime rates in 2019 are

                      reflected in Figure 1. Of the property crime reported, only 17.2% resulted in some

                      form of clearance. In 2019 about 79.5% of motor vehicle thefts were reported

                      (Figure 2), making it the most commonly reported according to BJS. Around half

                      of household burglaries and thefts were reported that year. These percentages are

                      relatively stable.




                                                       Figure 1




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                                                       Figure 2




            40.       The community in which police interact with citizens has clear implications for

                      the responses by government agencies and individual employees in their varying

                      roles in the justice system. What may not be frequent, or routine, in one

                      community, may be all too common in another. What police do matters in the




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                      broad attempt to curtail crime.38 The reduction of crime and social disorder is

                      generally favored by citizens.39 This is the context of policing in Pasco County,

                      Florida.




   VI.      Focused Deterrence

            41.       The officers are entrusted by the citizens, and expected, to work to prevent crime.

                      A majority of crime occurs out of the sight of law enforcement. This reality leaves

                      the community’s officers working to retroactively investigate crimes – when there

                      is sufficient evidence or information to begin an investigation. Police agencies

                      have been working to transition, where possible, to utilizing proactive approaches

                      rather than the reactive models of traditional policing that have seen the low

                      property crime clearance rates over the time such figures have been tracked.

            42.       Deputies at the Pasco Sheriff’s Office are expected and instructed to act within

                      law, agency policy, and contemporary training. Importantly, bureaucratic controls

                      over some aspects of police practices, for example search and seizure, have also

                      been addressed by the U.S. Supreme Court (City of Canton v. Harris, 1989;

                      Monell v. New York City Department of Social Services, 1978). While a

                      retroactive view of an officer’s decision-making is often officer-centered, this

                      would fail to appropriately incorporate an unknown and dynamic thought process




   38
      Ratcliffe, Jerry H., Ralph B. Taylor, Amber Perenzin Askey, Kevin Thomas, John Grasso, Kevin J. Bethel, Ryan
   Fisher, and Josh Koehnlein. 2020a. “The Philadelphia Predictive Policing Experiment.” Journal of Experimental
   Criminology 17(1):15–41.
   39
      Haberman, C. P., Groff, E. R., Ratcliffe, J. H., & Sorg, E. T. (2016). Satisfaction With Police in Violent Crime
   Hot Spots: Using Community Surveys as a Guide for Selecting Hot Spots Policing Tactics. Crime and
   Delinquency, 62(4), 525–557. https://doi.org/10.1177/0011128713516840


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                      by the subjects involved. Interacting with any subject with the hope of gaining

                      compliance can be blocked by the behavior of the subjects, as in the instant case.

              43.     The concept of agency policies and administrator oversight being important to

                      employee functions is not new. If the Pasco County Sheriff’s Office did not have

                      general orders and procedures, did not utilize a chain of command, failed to

                      require written documentation of enforcement activities carried out by employees

                      and maintain such paperwork, videos, CAD notations, etc., for review, they would

                      not be in step with other similarly situated agencies across the United States. This

                      is not the case. The Pasco County Sheriff’s Office has policies and procedures in

                      place to address allegations of officer misconduct and policy violations. The

                      investigations by administrative investigators are common. The agency’s website

                      further provides citizens a link of “Compliments, Complaints, Concerns.” 40

              44.     The deputies responding to interact with individuals believed to be at risk of re-

                      offending acted within the law, their training, and the policies of the Pasco

                      County Sheriff’s Office. The policies and standard practice of using task force

                      approaches of select law enforcement officers to increase the effectiveness of

                      enforcing the law are among the common practices of law enforcement agencies.

              45.     The Pasco County Sheriff’s Office follows research practices in the development

                      of policies that guide the actions of officers and management methods of the

                      agency. That different agencies utilize varied methods is within their discretionary

                      authority and vary by the needs of the jurisdiction. That criminologists and other

                      academics differ as to frameworks, theories, and outcome evaluations is as



   40
        Compliments, Complaints, Concerns


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                      predictable as the sun rising in the east. The “focused deterrence” of one academic

                      to the “focused deterrence” as a concept within the Intelligence-Led Policing

                      Program of an actual law enforcement agency, is Navel oranges to Valencia

                      oranges at most.

            46.       In a criminal matter, the information assembled is compared against elements set

                      by a legislative body. Our public employees do not determine the guilt or

                      innocence of a matter investigated in the course of their duties, they determine,

                      based on the criteria of probable cause, if it is more likely than not that a person or

                      persons were responsible for a violation. These public employees coordinate with

                      other public employees – prosecutors – who then take up their specific task of

                      deciding if a matter should continue in the criminal justice system process, which

                      may or may not culminate in a trial, according to law and guided by yet more

                      public employees, the judiciary.

            47.       Guidance of the U.S. Constitution, state law, case law, contemporary patrol and

                      investigative training, and officer experience lead the way for a proper, and

                      hopefully effective, investigation. The assessment of case methods is framed by

                      legal options and constraints, not a post hoc opinion of what another person might

                      have done differently, and especially those without the responsibility of serving

                      the community. The available resources of various agencies, as well as the

                      parameters of each case, dictate the selection among legal options that officers are

                      tasked with making. The professional judgement of deputies and investigators to

                      select options has long been recognized by the courts. The actions of the

                      identified individuals and the totality of the circumstances in a given situation are




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                      examined after the fact. Deputies and investigators are trained that courts have

                      consistently ruled that such selections are the province of law enforcement

                      officials.

            48.       Plaintiff’s expert Professor Kennedy claims unique knowledge of what is and is

                      not “accepted” by (apparently all of) “mainstream criminology.” This is

                      unsupportable. Plaintiff’s expert Professor Kennedy states that the PSO has not

                      “developed a focused deterrence strategy appropriate to property crime.” This is

                      not accurate. Professor Kennedy is not he arbiter of program design. Plaintiff

                      disagrees with PSO’s version of its focused deterrence strategies, but that has no

                      bearing on any individual community or its agencies pursuing the lawful policies

                      it sees fit to implement.

            49.       Plaintiff’s expert Professor Kennedy asserts without support that PSO practices

                      “cause harm.” Plaintiff asserts that intensive supervision programs (ISP) have a

                      “failed history of attempts to prevent crime and improve supervisee outcomes.”

                      This is inaccurate, over-simplified, and does not reflect a real world of probation

                      and parole in which ISP has and does exist. In this assertion, Professor Kennedy

                      also cites to a thirty-year old academic research article. Professor Kennedy states

                      about ISP that “These intensive programs were, nonetheless, failures.” This is not

                      supported, and once again makes no representation as to legality of the practice,

                      nor the administrative discretion authority for government agencies to pursue

                      various strategies. Professor Kennedy goes on from this lack of preference for

                      ISP-like monitoring, to assert “That history means it is predictable and well-




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                      understood how PSO’s policies and practices will cause harm.” This is a logic

                      fallacy, a weak analogy at best.

            50.       Professor Kennedy states an uncontroversial observation that family and social

                      networks are important. Professor Kennedy, however, then makes a categorical

                      statement that “PSO deliberately sets family and friends against one another.”

                      This statement, unsupported in its scope and breadth, is also not supported by a

                      handful of Plaintiff-interpreted conversation between family members of

                      offenders. Again, there is no assertion about legality or common practice of

                      interacting with family and acquaintances to acquire information or influence

                      individuals.

            51.       Hot spots may not be defined as a single location. If they were, no one would

                      stand or park there. Offenders have mobility and spatio-temporal patterns (day,

                      night, weekends, local convenience store, fast-food restaurant, work, school, etc.)

            52.       Professor Kennedy conflates alleged unique deputy rudeness examples with the

                      prolific-offender program. This is unsupportable.

            53.       Professor Kennedy objects to law enforcement attention on individuals who have

                      committed “X” number of acts, seemingly because the Plaintiff does not like such

                      attention, not because the attention is unlawful or uncommon within criminal

                      justice practices.

            54.       PSO’s protocols required enforcement actions in regard to prolific offenders

                      balances with the ILP components of the Pasco Sheriff’s Office which

                      incorporates initiatives including community engagement; mental

                      health/substance abuse; rehabilitation; threat assessment; and addressing




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                      victimization. Each component is part of a multi-pronged approach to the

                      complexity of actual criminal or delinquent behavior.

            55.       The use of lawfully issued citations to family members or others is a familiar tool

                      in deterring behavior of some individuals, or leveraging intelligence information

                      from others. Once again, Plaintiff, though asserting such citations to be pretextual,

                      does not provide information of illegality. Professor Kennedy does state that

                      “PSO often does this not because those people have done anything wrong…”

                      Documentation seems to contradict this assertion of acting in the absence of a

                      proscribed act or circumstance. The courts have been the venue to render such

                      judgements.

            56.       Professor Kennedy utilizes a red herring fallacy to introduce (at para. 103 of his

                      affidavit) to state “It is also well understood in the research literature that young

                      people’s early contacts with the criminal justice system are harmful.” And that

                      “…juveniles formally processed in the criminal justice system are as much as

                      seven times more likely to continue to adult criminality than equivalent juveniles

                      who are not.” This misrepresents the research literature on juvenile delinquency

                      and behavior. These statements would have the court believe that, rather than the

                      complex and multi-faceted pathway that young people take to delinquent activity,

                      that mere interaction with law enforcement, and because of formal processing, are

                      the sole causes of adult criminality. This is not correct or empirically supported.

            57.       The behavior and eventual life-success of young people are influenced by many

                      factors. Molding and guiding values is the primary responsibility of parents,

                      guardians, and the individuals themselves.




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            58.       I reviewed no empirical evidence that the PSO, as stated by Professor Kennedy,

                      “routinely puts pressure on prosecutors to try juveniles as adults.”

            50.       Professor Kennedy observes that the Pasco Sheriff’s Office interacts with various

                      other criminal justice system and other actors. This is accurate, appropriate, and

                      should be expected of every law enforcement agency.

            60.       While Professor Kennedy discusses, in broad terms, perceived legitimacy of law

                      enforcement agencies, there is no offering of empirical evidence that the Pasco

                      Sheriff’s Office does not enjoy a perception of legitimacy by most of the

                      jurisdiction’s citizens.

            61.       Acceptability, which Professor Kennedy makes a blanket claim is lacking in

                      PSO’s policies, is not the province of the Plaintiff to conclude.

            62.       The straw man fallacy of taking much of my initial report discussion and opinions

                      and saying that I was actually making Professor Kennedy’s points, is not a strong

                      presentation of the state of police practices.

            63.       Professor Kennedy refers to deputy sheriffs- law enforcement officers - taking

                      action on probation violations, as “self-appointed freelancers” supplanting the

                      judgment and actions of probation and parole agencies. Law enforcement officers,

                      in most U.S. jurisdictions, work closely with probation and parole agencies and

                      officers. They have full legal authority to enforce the law. Given probation

                      caseloads, such cooperative work is quite the norm.

            64.       Violent crime is an issue for all communities and each law enforcement agency

                      serving those communities. The matter under examination is not about violent

                      crime nor a program to address violent crime specifically. Plaintiff’s expert,




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                      Professor David Kennedy, has devoted a great deal of his professional career

                      involved in projects that partner with cities, police departments, probation and

                      parole departments, and federal prosecutors to combat violent crimes (often

                      homicide) by gang members. Professor Kennedy’s work and efforts in this are

                      laudable. Again, the Intelligence-Led Policing program of the Pasco County,

                      Florida Sheriff’s Office is not one that was designed or pursued to address the

                      types of challenges faced by the many cities where Professor Kennedy worked

                      with officials.

            65.       Research and law enforcement efforts alike are replete with studies and projects

                      that have tried to get at the underlying cause of violence. Much has been found to

                      be systemic in regard to society, various criminological theory factors, and an

                      age-trajectory observed as long as there has been recorded history. Once again,

                      the Pasco Sheriff’s Office, through the Intelligence-Led Policing program under

                      examination here, made efforts, relying on research and public expectation, to

                      address specific property crimes within their community.

            66.       A review of programs recorded by the International Association of Chiefs of

                      Police (IACP) under the rubric of focused deterrence speak exclusively to violent

                      personal crime. In a sampling of programs, here was the focus of each under the

                      rubric of focused deterrence:

                      Newark, NJ - Challenges: Violent Crime, Murder, Aggravated Assault

                      Cincinnati, OH - Challenges: Violent Crime, Gun Violence, Opioids, Shooting

                      Victims, and Witnesses

                      Albuquerque, NM - Challenges: Violent Crime




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                       Other projects that have attached themselves to, or have been attached to, the term

                       focused deterrence, have largely dealt with issues of violent crime.

              67.      Similar to programs identified by the IACP, the Police Executive Research Forum

                       in 2021 spoke to a panel of experts about focused deterrence. The key takeaways

                       included:

                                  --Focused deterrence means concentrating on the highest-risk people,

                       places, and behaviors. Mr. Abt noted that one advantage is that it is

                       “actionable.” It’s not asking police to be everywhere and do everything.

                                  --The strategy is not about creating a large list of gang members, but

                       rather an evidence-based, closely vetted list for the specific purpose of saving

                       lives by reducing shootings.

                                  --The list is not a “most wanted” list for arrest and prosecution. It’s a

                       list of individuals who will be offered resources to help them leave a life of

                       violence.41

              68.      In the PERF panel discussion, the chief of police in Stockton, California noted:

                       “Stockton has one of the highest violent crime rates in the state and the nation.

                       There are a lot of generational gang issues. But we’ve been making some great

                       efforts to address the violent crime.”42



   VII.       Social Network Analysis

              69.      The use by analysts of social networks to explore an individual’s activities or ties

                       to others is nothing new. There is simply more information now available through


   41
        Police Executive Research Forum, Critical Issues, April 2021
   42
        Stockton, CA Police Chief Eric Jones


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                      multiple modes than has ever existed. Graphically displaying connections with

                      nodes and varied length line with one or two arrow heads can be useful to analysts

                      and investigators, not to mention for criminologists or anyone to examine almost

                      anything that someone wanted to understand better.43

            70.       When I was trained by the Florida Department of Law Enforcement in the mid-

                      1980s to be a trainer-of-trainers for detectives, we used a plastic template punched

                      through with various sized circles and lines. It is likely that almost every adult has

                      seen similar displays on multiple police procedurals on television, with markers

                      and photos comprising a network web of connections for the detectives to mull.



   VIII.    Crime Hot Spots

            71.       The use of pattern analysis by police to determine “hot posts” to track criminal

                      activity is nothing new. It is simply far faster to tabulate and represent incidents

                      via software, CAD systems, mobile computer terminals (MCT) and the like than

                      has ever existed. Graphically displaying spatio-temporal event occurrence can be

                      useful to analysts and investigators, not to mention to almost anyone that wanted

                      to understand a pattern better. When I was a young police officer in the late

                      1970’s and early-1980s, we used tiny pins with brightly colored heads to

                      designate locations and types of crime. It is likely that almost every adult over a

                      certain age has seen similar displays on multiple police procedurals on television.

                      Occasionally, I had the solemn duty of looking at the stack of reports for



   43
      McGloin, J. M., & Kirk, D. S. (2010). An overview of social network analysis. Journal of Criminal Justice
   Education, 21(2), 169–181.; McGloin, J. M., Sullivan, C. J., Piquero, A. R., & Bacon, S. (2008). Investigating the
   stability of co‐offending and co‐offenders among a sample of youthful offenders. Criminology, 46(1), 155-188.


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                      addresses, and then pushing the pins into place on a map of the agency

                      jurisdiction. Risk terrain modeling (RTM),

            72.       Professor Kennedy’s conceptualization focuses on violent crime. PSO has

                      designed an approach to address property crime issues. The Intelligence-Led

                      Policing program of PSO contains a component or technique using “hot spots

                      policing.” The National Institute of Justice, in their Crime Solutions program,

                      evaluates and rates practices across criminal justice.

                      A Practice is a general category of programs, strategies, or procedures that share
                      similar characteristics with regard to the issues they address and how they address
                      them. Practice profiles tell us about the average results from multiple evaluations
                      of similar programs, strategies, or procedures. The programs, strategies, or
                      procedures within a practice are similar because they share certain defining
                      characteristics that are described for each practice profile on CrimeSolutions.
                      Thus, practice profiles tell us the average result across multiple evaluations.44
                      Green check boxes are evaluated effective, gold ones as promising. The current
                      Summary by Crime Solutions includes the following Program and Practice
                      profiles. The list below leads with a property crime program in Florida (not Pasco
                      County), and Operation Ceasefire in Boston. The Summary reads as follows:




   44
     U.S. Department of Justice, Office of Justice Programs, Rated Practices | CrimeSolutions, National Institute of
   Justice (ojp.gov)


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            73.       Law enforcement officers do not have superhuman powers. Officers are daily put

                      in positions of reacting and responding to crime. A startling reality for many

                      citizens and officers is that most crime is neither prevented nor “solved.” Given

                      that much crime is never reported and what is reported is solved at less than 50%.

                      Citizens call upon officers to intervene or investigate when fellow citizens break

                      the social contract. Despite the legitimacy our democratic society provides police

                      to use investigative authority, many offenders escape detection or accountability.

                      This is the reality that cannot be conveniently dismissed.

            74.       The Intelligence-Led Policing program of the Pasco County Sheriff’s Office is

                      adequately transparent as evidenced by the media coverage, and the record-

                      keeping and commitment of the agency leadership to advertising the efforts of all

                      of its organizational components. The Pasco County Sheriff’s Office also

                      provides its citizens with an annual report of the department that discusses many

                      accomplishments and important issues including use of intelligence information.




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   IX.      Adverse Childhood Experience (ACE)

            75.       Adverse childhood experiences (ACE) have been studied for their impacts on

                      young people and adults for more than twenty years since the ACES study was

                      published by the Centers for Disease Control and Prevention and Kaiser

                      Permanente in 1998.45 ACEs have been examined for various potential negative

                      outcomes including health, suicide, drug abuse, unemployment, educational

                      achievement and more. Importantly, aspects of community, society, family, and

                      living conditions are studied to identify and understand origins of various

                      experiences considered under the rubric. Over the lifespan, negative outcomes for

                      health and social issues are complex and stem from myriad circumstances and

                      factors. The actual scientific studies conducted utilize survey instruments that

                      have been validated for most reliable results. A person, even a criminologist, in a

                      report to the court may not simply start naming new categories thought up to

                      imply legitimate scientific method.

            76.       On page 13 of the 2018 PSO ILP Manual, it reads that:

                      “Through DCF’s Florida Safe Families Network (FSFN), we are able to identify
                      juveniles who have had adverse childhood experiences (ACEs)”


                      On the same page, the manual read: that:

                      “Research suggests that with each additional ACE a child experiences their risk of
                      becoming a SVC offender increases by 35 and children who have experienced
                      four or more are at significant risk of developing into a SVC offender (Fox et al.,
                      2015)”




   45
     Felitti VJ, Anda RF, Nordenberg D, et al. Relationship of childhood abuse and household dysfunction to many of
   the leading causes of death in adults: the Adverse Childhood Experiences (ACE) Study. Am J Prev Med.
   1998;14(4):245-258.


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                      From the referenced article by Fox et al.:

                      “Data on the history of childhood trauma, abuse, neglect, criminal behavior, and
                      other criminological risk factors for offending among 22,575 delinquent youth
                      referred to the Florida Department of Juvenile Justice are analyzed, with results
                      suggesting that each additional adverse experience a child experiences increases
                      the risk of becoming a serious, violent, and chronic juvenile offender by 35, when
                      controlling for other risk factors for criminal behavior.”46


            77.       The Intelligence-Led Policing Manual incorporates the list of ACEs, which

                      included:

                      Household member incarceration,
                      Physical abuse,
                      Emotional abuse,
                      Witness household violence,
                      Physical neglect,
                      Household substance abuse,
                      Sexual abuse.


            78.       Positive childhood experiences have also been (and continue to be) studied.47 I

                      reviewed no evidence in this matter that supports an assertion that the PSO

                      Intelligence-Led Policing program makes “…prediction about that person’s

                      experiences of any ACEs and any future criminality, much less serious or

                      “prolific” criminality,” or that “This impossible move is precisely what PSO

                      claims to be making.”48 The report of Plaintiff expert Professor Kennedy goes

                      further with the straw-man argument that “There is nothing that can predict that a

                      child will become a dangerous or prolific offender. Nothing.” [emphasis in the


   46
      Fox, Perez, N., Cass, E., Baglivio, M. T., & Epps, N. (2015). Trauma changes everything: Examining the
   relationship between adverse childhood experiences and serious, violent and chronic juvenile offenders. Child Abuse
   & Neglect, 46, 163–173. https://doi.org/10.1016/j.chiabu.2015.01.011
   47
      Bethell, Jones, J., Gombojav, N., Linkenbach, J., & Sege, R. (2019). Positive Childhood Experiences and Adult
   Mental and Relational Health in a Statewide Sample: Associations Across Adverse Childhood Experiences
   Levels. JAMA Pediatrics, 173(11), e193007–e193007.
   48
      Report of David Kennedy, page 21


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                         original]49 Additionally indicating that the Pasco Sheriff’s Office, based on

                         acknowledging adverse childhood experiences in certain offenders, then uses that

                         knowledge “to target children as ‘destined to a life of crime.’”50 I do not believe a

                         faithful reading of the Intelligence-Led Policing manual in its entirety and in

                         context, supports Professor Kennedy’s assertion. Professor Kennedy creates a

                         narrative around a quote of a quote within the ILP Manual. While Professor

                         Kennedy selects the sentence “David Farrington has pointed out that our

                         knowledge of offending patterns is such that ‘potential offenders can be identified

                         at an early age with a reasonable degree of accuracy,” Professor Kennedy leaves

                         out the rest of the quoted material. Including this concluding sentence attributed

                         to Farrington by Ratcliffe: “However, many of these variables [mentioned in the

                         quote] are unlikely to be available to police departments, so this information has

                         little value from an intelligence-led policing perspective.”

   X.         PSO Home Visits

              79.        The use of home visits by social workers, probation officers, parole officers, and

                         others who maintain a caseload, to explore an individual’s activities is nothing

                         new. There remain circumstances in which staffing is not sufficient to effectively

                         carry out such visits consistently. Providing accountability and monitoring of

                         those assigned such check-ins are still useful to many, not to mention for

                         criminologists or anyone to conduct direct fieldwork regarding almost anything

                         that a researcher wanted to understand better. Professor Kennedy stated that home

                         visits and “Other Practices and Policies Are Harmful and Not Accepted by


   49
        Ibid., page 21
   50
        Ibid., page 22


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                      Mainstream Criminology.”51 “Home visits” are not something to be “accepted” by

                      “criminology” or by criminologists. It is a tool, a method, among a multi-pronged

                      approach to assigned duties from the community. Regardless, empirical evidence

                      does not support a categorical contention that of “…the failed history of attempts

                      to prevent crime and improve supervisee outcomes through intensive probation

                      and parole supervision, or ‘intensive supervision programs’ (ISP).”52

              80.     The use of knock-and-talk is common, with some larger agencies assigning

                      officers to the method as a work assignment. It is not uncommon in the wake of a

                      consensual knock-and-talk encounter for someone to claim that an interaction

                      with an officer was unwanted.

              81.     The National Institute of Justice commissioned a study of probation and parole

                      home visits. The practice remains the norm, and evaluation of overall efficacy

                      remains challenging. From the study:

                      Despite long being a cornerstone of surveillance and corrective intervention in
                      probation and parole (Lindner & Bonn, 1996; Ohlin, 1956), field work remains an
                      understudied aspect of community corrections. Yet, field work accounts for a
                      significant proportion of community corrections resources, and has been shown to
                      be a primary source of stress for line officers (Finn & Kuck, 2003). While
                      conducting probation and parole contacts in the field can be a way for officers to
                      extend community supervision beyond the walls of government buildings and
                      interact with the community they serve, such work is also resource-intensive and
                      can expose officers to harm. Moreover, the application of home and field contacts
                      varies across agencies, and the catch-all term includes widely divergent policies
                      and practices that reflect differing goals and expected outcomes for field work
                      (Campbell, Swan, and Jalbert, 2017). This variation in what constitutes field work
                      has, in part, resulted in very few rigorous studies of the impact of field contacts on
                      criminal justice outcomes. The gap in research on field contact effectiveness
                      means policymakers face great uncertainty when they try to weigh the potential
                      benefits of field work against costs such as officer stress and, safety, and the
                      impact on staffing resources. The findings from this study will inform


   51
        Expert report of David Kennedy, page 40
   52
        Ibid. page 40


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                       policymakers on the risks and benefits of field work, and inform avenues for
                       future research.53 [citations within the original article]


                  From the study survey:

                      Most agencies conduct field visits at: the offender’s home (95%), place of

                       employment (89%), jail or prison (82%), and shelters/group residences (81%).

                      38% of agencies reported usually conducting field visits in pairs or teams.

                      Most agencies (79%) reported that officers sometimes conduct field visits with a

                       law enforcement escort.

                      Having at least one successful field contact is associated with reductions in

                       recidivism.

                      Individuals receiving at least one field contact had a 47% reduction in the odds of

                       any recidivism over a two-year period, and were 54% less likely to recidivate at

                       any point in time.

                      Receipt of multiple successful field contacts is less effective for low risk

                       individuals than for very high/high risk individuals.

                      Receipt of any field contacts is associated with reductions in the number of

                       violations a supervisees receives.

                      The reduction in violations associated the receipt of any field contacts are not

                       altered by the supervision type. The contrast in the effect of field contacts on

                       number of violations is not significant.

                      The number of visits received depended on whether the client was in ISR or on

                       some other form of supervision:


   53
        Abt Associates, Evaluating the Impact of Probation and Parole Home Visits (2019)


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                          o ISR: 26.5% received one visit, 22.1% received two; 51.5% received three

                                  or more

                          o Other supervision types: 80.6% received one visit; 13.4% received two

                                  visits; 6.0% received more than visits.54

            82.       Please note that this is only one study, though a large one and under the auspices

                      of the National Institute of Justice. It is not responsible to assert that home visits,

                      in a vacuum, have one result or another for each and every different person or

                      category of person monitored post- or pre-incarceration. Collateral contact with

                      family when an offender is not home is commonplace. From the section of the

                      study incorporating focus groups, checklists and surveys, participants note that

                      home visits are field contacts and part of community supervision, and that

                      compliance is due to deterrence.55 Leveraging code enforcement to gain

                      compliance was a concept formally put forward at the beginning of the

                      community-oriented policing era of the mid-1980s. Such an approach is neither

                      new, nor unlawful.

            83.       In Professor Kennedy’s use of a thirty-year-old journal article to both describe

                      and condemn all intensive supervision, he overreaches. Petersilia and Turner, the

                      study’s authors, did not label, as Kennedy did, that “They [ISP] were,

                      nonetheless, failures.”56 What the authors did say, in their article, included:

                              The programs were implemented well, particularly with respect to
                      probation and parole officers' contacts and drug testing but were less successful at
                      increasing treatment participation. Intensive supervision probation did not
                      decrease the frequency or seriousness of new arrests but did increase the
                      incidence of technical violations and jail terms. Stepped-up surveillance and

   54
      Abt Associates, Evaluating the Impact of Probation and Parole Home Visits (2019)
   55
      Ibid.
   56
      Expert report of David Kennedy, page 41


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                      frequent drug tests increased incarceration rates and drove up program and court
                      costs compared with routine supervision. Development of an array of sentencing
                      options to create a graduated sentencing system should justify continued
                      development and testing of ISP programs.57




   XI.      Focused Deterrence, again

            84.       The Pasco County Sheriff’s Office operates, as any police agency must, on

                      multiple levels and with multiple approaches simultaneously. The Intelligence-

                      Led Policing program discussed was largely geared to identify and dissuade

                      offenders who commit property crimes. As interpreted by and noted by Professor

                      Kennedy: “…focused deterrence is an evidence-based prevention framework

                      aimed at violence and other extremely serious public-safety issues. It has been

                      successfully employed with respect to homicide, gun violence, overt drug

                      markets, intimate partner violence, and other such issues.”58

            85.       Putting aside that each community exercises the prerogative to state what are

                      “extremely serious public-safety issues,” Professor Kennedy repeatedly makes the

                      point that his focused deterrence is largely about violent crime. Although

                      Professor Kennedy points to “The original focused deterrence strategy operated

                      with respect to gangs and drug crews that were central to homicide and gun

                      violence in Boston…”59, it is important to point out that crime prevention has

                      certainly incorporated aspects of some version of focused deterrence since the

                      Peelian practices of London’s Metropolitan Police of the early 1800s.



   57
      Petersilia, & Turner, S. (1993). Intensive Probation and Parole. Crime and Justice (Chicago, Ill.), 17, 281–335.
   58
      Expert report of David Kennedy, page 23
   59
      Expert report of David Kennedy, page 24


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              86.      Professor Kennedy points to the project he was involved in in Boston, MA (gang

                       homicide), High Point, NC (drug markets), high-risk offenders in Chicago gun

                       violence, Indianapolis violence reduction, Stockton CA, Lowell MA, Cincinnati

                       Initiative to Reduce Violence, Operation Ceasefire Newark, NJ, and others. And

                       again, in his expert report in the matter of Pasco County, Florida and the PSO

                       Intelligence-Led Policing program aimed at reduction of burglaries and auto

                       thefts, Professor Kennedy says of his focused deterrence version:

                       The express intent is to reduce violence and other extremely serious harms while
                       also reducing enforcement, strengthening the affected community, and supporting
                       the most at risk (the catchphrase for the focused deterrence strategies aimed at
                       homicide and gun violence is that those at highest risk should be “safe, alive, and
                       free”).60


   XII.       Agency Management

              87.      The concept of agency policies and administrator oversight being important to

                       employee functions is not new. If the Pasco County Sheriff’s Office and

                       Intelligence-Led Policing program did not have general orders and procedures,

                       did not utilize a chain of command, failed to require written reports of the various

                       activities carried out by employees and review those reports, they would not be in

                       step with other similarly situated agencies across the United States. This is not the

                       case.



   XIII.      Opinions and Conclusions

              88.      Through my experience as a law enforcement officer, trainer, and administrator,

                       law enforcement academy director, field training officer/supervisor/commander,


   60
        Ibid., page 24-5


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                      more than thirty-five years of teaching law enforcement procedures to academy

                      recruits, in-service officers, and college and university students, my personal

                      experience of conducting and supervising the conduct of law enforcement

                      business including investigative matters, my ongoing research and analysis of

                      such policies and practices, my academic and professional presentations, my

                      authorship of various documents, and based upon a reasonable degree of law

                      enforcement and criminal justice certainty, I find that:

            89.       Pasco County, Florida, a community of more than a half million people, is part of

                      the Tampa Bay Metropolitan Area. Population has increased significantly in the

                      past decade. Pasco Sheriff’s Office resources (staffing) have not kept pace.

            90.       The Intelligence-Led Policing (ILP) program of the Pasco Sheriff’s Office is well-

                      conceived, staffed, and operated pursuant to an agency-wide philosophy and

                      manual. The program is open to public scrutiny.

            91.       The crime challenges communities, agencies, and officers face daily call for a

                      variety of responses. Aligned with tactical and strategic concerns, the Pasco

                      Sheriff’s Office appropriately utilizes traditional approaches and innovative

                      methods to influence offenders, potential offenders, and criminogenic conditions

                      that the agency can impact.

            92.       Agency members that are part of the Intelligence-Led Policing section work

                      within defined organizational policies and procedures, receive training,

                      supervision, and are responsive to an established chain of command.

            93.       The Strategic Targeted Area Response (STAR) Teams’ actions by deputies in this

                      case were objectively reasonable and appropriate and in accordance with




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                      Constitutional guidance, state law, case law, PCSO policy, recruit academy

                      training, and law enforcement practices.

            94.       Plaintiff describes a specific focused deterrence approach that has been utilized in

                      other jurisdictions to address homicide being committed by gang members, other

                      gun violence, drug markets, and intimate partner violence. Plaintiff asserts that

                      any reference to the term “focused deterrence” or Plaintiff’s expert’s writings

                      equates to a wholesale adoption of the exact approach used initially thirty years

                      prior by Plaintiff’s expert.

            95.       Every jurisdiction has the authority to and must devise its own approach to how it

                      will deal with the unique crime problems of its jurisdiction. PSO has made the

                      judgment it is entitled to make to address property crime through ILP. Neither the

                      ILP manual nor written policies direct deputies on how to conduct a prolific

                      offender check. It is clear from the materials that the circumstances vary greatly

                      depending on, among other things, varied deputies carrying out checks, cause for

                      the visits, and level of cooperation of those with whom deputies interact.

            96.       Crime deterrence and prevention strategies are pursued by approximately 18,000

                      separate local-level law enforcement agencies, and many more state and federal

                      agencies, across the United States, and many more around the world.

            97.       The challenge of crime prevention does not alter the public expectation that their

                      police officers work to accomplish what can be done in this objective, among

                      many.

            98.       Communities, and by extension their elected and appointed public safety

                      professionals, select public safety programs and strategies. Such decisions are




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                      value-weighted locally and bound by resource constraints. Such efforts may not

                      violate law or constitutional dictates.

            99.       The documentation I have reviewed in this matter does not reveal a pattern of

                      objectionable policies or behaviors that breach constitutional criteria routinely

                      considered in local-level public safety policymaking.

            100.      The initial design of the Intelligence-Led Policing program was articulated to be

                      open to the evolving state of intelligence and data usage and techniques. There

                      have been multiple versions of the ILP manual. This is appropriate.

            101.      Based on preparations, policies, training, and proper supervisory action, the Pasco

                      County Sheriff’s Office responds to crime prevention in a manner consistent with

                      contemporary law enforcement training and practices.

            102.      The implementation of innovative crime prevention approaches in this case was

                      reasonable and follows standard practice in ongoing public sector efforts to work

                      within legislatively apportioned budgets. The use of various sources of data and

                      information were conducted within law, Pasco County Sheriff’s Office policy and

                      contemporary law enforcement practices and training at the time of the complaint.

                      In this matter, there was no indication that investigative methods were used

                      inappropriately, improperly, unnecessarily, or in any way other than as

                      authorized.

            104.      The Pasco County Sheriff’s Office uses acceptable management methods. Law

                      enforcement bureaucracy is constrained by statute, case law, policy, training,

                      supervision by higher authority, report review, and the proper conduct of the




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